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                        UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA

IN RE:                                      CASE NO:      .It-/Sl//r;z:'
 MANd61,, J. ({oJAS
        Debtor(s)



                  TRUSTEE'S OBJECTION TO EXEMPTIONS
            AND CERTIFICATE OF SERVICE OF NOTICE OF HEARING

        Nancy K. Neidich, Standing Chapter 13 Trustee, files this Objection to Exemptions as
the Trustee objects to the exemption of property as stated in the debtor(s)' Schedules as being
over the legal limit and/or raising a question as to the amount of the claimed exemption and
therefore it does not appear that the debtors are entitled to same and therefore excessive or
inappropriate exemptions should be stricken and disallowed. Objecting specifically as checked:
_ _a) Homestead property which is multi-family (duplex) or not actually used as homestead.
_ _b) Personal property exempted over $1000 with or $5000 without Homestead exemption.
 ~) Tenants By the Entireties, evidence ofjoint title and motion served on all creditors
Twith a statement of which property is jointly held and requiring objection from any joint
creditor
      d) Bare Legal Title, evidence that the debtor has never contributed to the payment,
maintenance, or use. (or that there is no equity in the property for the estate)
_ _ e) Vague exemption in the amount stated, description of asset, or citation of exemption.
__ f) Wages, evidence of head of family (ifjoint case need specific debtor claiming
exemption) and 6 months bank statements with deposits traced.
_ _ g) Automobile exemption of $1000.00 is split between more than one automobile.
_ _h) Valuation Issues: the debtor did not timely provide the Trustee with requested
valuation, including but not limited to bank statements, real property or vehicles.
_ _ i) Proof of pension or 401K statement
__j) Use of improper application of exemption: residency 522(b)(3), not eligible
for exemption
_ _k) Other   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~-




        I hereby celiify that a true and correct copy of the foregoing and the Notice of Hearing
generated by the Clerk of the Court was served through ECF on debtor's attorney on the same
day as the objection is filed with the Clerk of the Court.
                                                      Submitted by
                                                     NANCY K. NEIDICH, ESQUIRE
                                                      STANDING CHAPTER 13 TRUSTEE
                                                      FLORIDA BAR NO.: 441856
                                                      P.O. BOX 279806
                                                      MIRAMAR, FL 33027
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